           Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

K. SCOTT STOKES,                       )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
BRIDGE POINT, L.L.C.,                  )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, K. SCOTT STOKES, by and through the undersigned

counsel, and files this, his Complaint against Defendant BRIDGE POINT, L.L.C.

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                          JURISDICTION AND VENUE

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.      Venue is proper in the federal District Court for the Northern District


                                           1
            Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 2 of 13




of Georgia, Atlanta Division.

                                      PARTIES

       3.      Plaintiff K. SCOTT STOKES (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Roswell,

Georgia (Fulton County).

       4.      Plaintiff is a quadriplegic and is disabled as defined by the ADA.

       5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.      Plaintiff uses a wheelchair for mobility purposes.

       7.      Defendant BRIDGE POINT, L.L.C. (hereinafter “Defendant”) is a

Georgia limited liability company that transacts business in the state of Georgia

and within this judicial district.

       8.      Defendant may be properly served with process via its registered

agent for service, to wit: Gary Eplan, 5481 Morton Road, Alpharetta, Georgia

30022.

                            FACTUAL ALLEGATIONS

       9.      On or about February 6, 2022, Plaintiff was a customer at “Sunshine

Two Chinese Restaurant,” a business located at 10995 State Bridge Road,


                                           2
         Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 3 of 13




Alpharetta, Georgia 30022.

      10.      Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The contiguous, multi-tenant

structure and improvements situated upon said real property shall be referenced

herein as the “Facility,” and said real property shall be referenced herein as the

“Property”).

      11.      Plaintiff lives approximately nine (9) miles from the Facility and

Property.

      12.      Plaintiff’s access to the businesses located at 10995 State Bridge

Road, Alpharetta, Georgia 30022 (Fulton County Property Appraiser’s parcel

number 11 037001540425), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.      Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


                                           3
         Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 4 of 13




      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

                                           4
         Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 5 of 13




regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


                                          5
         Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 6 of 13




conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


                                           6
            Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 7 of 13




Plaintiff and other persons with disabilities.

      30.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)      EXTERIOR ELEMENTS:

      (i)      The signage for the accessible parking space on the Property

               most proximate to the “Kumon” portion of the Facility is not

               installed at a permissible height, in violation of section 502.6 of

               the 2010 ADAAG standards.

      (ii)     The access aisle adjacent to the accessible parking space on the

               Property most proximate to the “Kumon” portion of the Facility

               is not level due to the presence of a ramp within the boundaries

               of said access aisle, in violation of section 502.4 of the 2010

               ADAAG standards.

      (iii)    The side flares of above-described ramp protrude into the

               boundaries of the adjacent accessible parking space, in violation

               of section 502.4 of the 2010 ADAAG standards, and have


                                            7
  Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 8 of 13




       slopes in excess of 1:10 (one to ten), in violation of section

       406.3 of the 2010 ADAAG standards.

(iv)   The signs for the two accessible parking space on the Property

       most proximate to the Suite E portion of the Facility are each

       not installed at a permissible height, in violation of section

       502.6 of the 2010 ADAAG standards.

(v)    The two accessible parking spaces on the Property most

       proximate to the Suite E portion of the Facility and their

       centrally adjacent access aisle each have a slope and cross-slope

       in excess of 1:48 (one to forty-eight), and are not level, in

       violation of section 502.4 of the 2010 ADAAG standards.

(vi)   The access aisle adjacent to the accessible parking space on the

       Property most proximate to the Suite E portion of the Facility is

       not level due to the presence of a ramp within the boundaries of

       said access aisle, in violation of section 502.4 of the 2010

       ADAAG standards.

(vii) The side flares of above-described ramp protrude into the

       boundaries of the adjacent accessible parking spaces, in

       violation of section 502.4 of the 2010 ADAAG standards, and


                                   8
      Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 9 of 13




         have slopes in excess of 1:10 (one to ten), in violation of

         section 406.3 of the 2010 ADAAG standards.

(viii) Due to a lack of parking stops that encourage vehicles to pull

         up far enough to block the accessible route to the entrances of

         the Facility, there are publicly accessible areas of the Property

         having accessible routes with clear widths below the minimum

         36” (thirty-six inches) inches required by section 403.5.1 of the

         2010 ADAAG standards.

(b)      INTERIOR ELEMENTS:

(i)      The interior of the “Sunshine Two” portion of the Facility has a

         sales and services counter lacking any portion of which that has

         a maximum height of 36” (thirty-six inches) from the finished

         floor, in violation of section 904.4 of the 2010 ADAAG

         standards.

(ii)     The rear grab bar adjacent to the commode in the restroom in

         the “Sunshine Two” portion of the Facility is too short and fails

         to comply with section 604.5 of the 2010 ADAAG standards.

(iii)    The paper towel dispensers in the restrooms in the “Sunshine

         Two” portion of the Facility are located outside the prescribed


                                     9
         Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 10 of 13




             vertical reach ranges set forth in section 308.2.1 of the 2010

             ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle while on the

Property, more difficult and dangerous for Plaintiff to utilize the ramps servicing

the Property, more difficult for Plaintiff conduct his business within the “Sunshine

two” portion of the Facility, and more difficult for Plaintiff to utilize all features of

the restroom in the “Sunshine Two” portion of the Facility.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.     All of the violations alleged herein are readily achievable to modify


                                           10
        Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 11 of 13




to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.


                                          11
        Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 12 of 13




      42.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: February 23, 2022.

                                      Respectfully submitted,


                                        12
        Case 1:22-cv-00771-AT Document 1 Filed 02/23/22 Page 13 of 13




                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich
                                    Georgia Bar No. 242240
                                    The Law Office of Craig J. Ehrlich, LLC
                                    1123 Zonolite Road, N.E., Suite 7-B
                                    Atlanta, Georgia 30306
                                    Tel: (404) 365-4460
                                    Fax: (855) 415-2480
                                    craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




                                      13
